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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------X
   KOHLBERG, ET AL.,                                              :                       11/9/2020
                                                                  :
                                             Plaintiffs,          :
                     -against-                                    :   20-cv-06250 (ALC)
                                                                  :
                                                                  :
   BIRDSEY, ET AL.,                                               :   ORDER
                                                                  :
                                            Defendants.           :
                                                                  :
                                                                  :
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ANDREW L. CARTER, JR., United States District Judge:

        The Court is in receipt of the Parties’ joint status report. ECF No. 82. Plaintiffs are

ORDERED to file the consented-to amended complaint; publish the agreed-upon notice; and file

the Amended or initial Certifications.

        It is further ORDERED that any motion to serve as Lead Plaintiff must be filed no later

than 60 days after the agreed-upon notice is published. Plaintiffs may file a motion to serve as

Lead Plaintiff sooner, but no later, than that date. While the Court will not decide motions to

serve as Lead Plaintiff prior to 60 days from the publishing of the agreed-upon notice, Plaintiffs

filing their motion in advance of that deadline would aid the Court in deciding the motion

expeditiously thereafter.

        Plaintiffs are further ORDERED to file a letter confirming the date on which the agreed-

upon notice is published. This letter must be filed no later than November 23, 2020.

SO ORDERED.

Dated: November 9, 2020                                      ______________________________
       New York, New York                                       ANDREW L. CARTER, JR.
                                                                United States District Judge



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